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1    ISMAIL RAMSEY (CA BAR #189820)
     RAMSEY & EHRLICH LLP
2    803 Hearst Ave nue
     Berkeley, CA 94710
3    (510)548-3600
     (510)548-3601 (FAX)
4    izzy@ramsey-ehrlich.com
5    Attorney for Defendant Ilya Tuchinsky
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8                               UNITED STATES DISTRICT COURT
9                           NORTHERN DISTRICT OF CALIFORNIA
10                                 SAN FRANCISCO DIVISION
11

12   UNITED STATES OF AMERICA,                   ) Case No.: CR 05 00491 VRW
                                                 )
13                 Plaintiff,                    ) STIPULATION AND [PROPOSED]
                                                 ) ORDER
14         vs.                                   )
                                                 )
15   ILYA TUCHINSKY,                             )
                                                 )
16                 Defendant                     )
                                                 )
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18         The defendant Ilya Tuchinksy in this case has pled guilty to one county of
19   conspiracy to distribute methamphetamine. He is currently awaiting sentencing.
20         On January 12, 2006, this Court ordered the defendant released on bail to attend a
21   sixth month residential drug treatment program at Pathway House in San Jose, California.
22         Mr. Tuchinsky began his treatment on January 18, 2006. Mr. Tuchinsky has
23   progressed through the program on schedule. He will have completed a 6-month
24   program during the week of Sunday, July 16, 2006.
25         Currently, his counselor has approved daily passes for Mr. Tuchinsky, allowing
26   him to leave the program unmonitored. He attends classes at San Francisco State
27   University, where he is enrolled in a final course needed for him to complete his
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                                  STIPULATION AND [PROPOSED] ORDER

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1    bachelor’s degree at San Francisco State University. He is also currently seeking a job in
2    the computer programming industry.
3           Upon Mr. Tuchinsky’s completion of the six month program at Pathway House, he
4    plans to stay with at his parent ’s home at 2642 - 38th Ave., San Francisco, CA 94116.
5    During the course of his treatment at Pathway House, he has also been has approved for
6    passes to visit and stay with his parents who live in San Francisco for 24 hours. Mr.
7    Tuchinsky’s father is a surety on his son’s bond, and this Court initially released Mr.
8    Tuchinsky to his father’s custody for up to 24 hours in order to transport his son to the
9    treatment center. His father has also regularly transported his son to Court appearances
10   during his treatment.
11          Defense counsel has discussed Mr. Tuchinsky’s plan to stay with his parents upon
12   his completion of the six-month residential treatment program at Pathway with his Pre-
13   Trial Services Officer Victoria Gibson. She does not object to such his release under
14   such conditions with his father as a continued surety, and as a custodian. She requests
15   that the Pre-Trial Services officer, who supervises Mr. Tuchinsky, have discretion to
16   impose a curfew, if needed, on Mr. Tuchinsky following his release from Pathway
17   House.
18          The parties hereby stipulate and move this Court to modify Mr. Tuchinsky’s
19   release conditions to allow him to reside with his parents following his successful
20   //
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                                  STIPULATION AND [PROPOSED] ORDER

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1    completion of his six month residential drug treatment at Pathway House. His father
2    Sergey Tuchinsky will serve as a custodian and remain as a surety. Pre-Trial Services
3    shall have discretion to impose a curfew on Mr. Tuchinsky, as needed.
4

5    Dated: July 18, 2006                            Respectfully Submitted,
6                                                    RAMSEY & EHRLICH LLP
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                                                     ISMAIL RAMSEY
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                                                     KEVIN V. RYAN
                                                     UNITED STATES ATTORNEY
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12
                                                     LAUREL BEELER
13                                                   ASSISTANT U.S. ATTORNEY

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           Good cause having been shown, IT IS SO ORDERED.
15
     Dated: 7/17/06
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17                                                   ________________________________
                                                     HON. NANDOR J. VADAS
18                                                   U.S. MAGISTRATE JUDGE
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                                 STIPULATION AND [PROPOSED] ORDER

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